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               EXHIBIT H
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 SILVERGATE PHARMACEUTICALS, INC.,                   )
                                                     )
               Plaintiff,                            ) C.A. No. 18-1962 (LPS)
                                                     ) C.A. No. 19-1067 (LPS)
       v.                                            )
                                                     )
 BIONPHARMA INC.,                                    )
                                                     )
               Defendant.                            )
                              )

                              FINAL JUDGMENT

       This action, having been tried before the Court from February 1, 2021 through February

5, 2021, Honorable Leonard P. Stark, Chief District Judge presiding, the evidence and testimony

of witnesses of each side having been heard and a decision having been rendered;

       IT IS HEREBY ORDERED AND ADJUDGED this 29th day of April 2021, for the

reasons set forth in the Opinion dated April 27, 2021 (D.I. 257) that:

       1.      Judgement is entered in favor of Bionpharma Inc. (“Bionpharma”) and against

Silvergate Pharmaceuticals Inc. (“Silvergate”) on Silvergate’s claim that Bionpharma’s

Abbreviated New Drug Application (“ANDA”) No. 212408 and the commercial manufacture,

use, offer for sale, sale, and/or importation into the United States of the proposed generic product

described therein infringes claims 4, 7, and 10 of U.S. Patent No. 10,039,745 (“the ’745 Patent”).

       2.      Judgment is entered in favor of Bionpharma and against Silvergate on

Bionpharma’s counterclaim for declaratory judgment of noninfringement of claims 4, 7, and 10

of the ’745 Patent.

       3.      Judgement is entered in favor of Bionpharma and against Silvergate on

Silvergate’s claim that Bionpharma’s ANDA No. 212408 and the commercial manufacture, use,
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offer for sale, sale, and/or importation into the United States of the proposed generic product

described therein infringes claims 20, 23, and 30 of U.S. Patent No. 10,154,987 (“the ’987

Patent”).

       4.      Judgment is entered in favor of Bionpharma and against Silvergate on

Bionpharma’s counterclaim for declaratory judgment of noninfringement of claims 20, 23, and

30 of the ’987 Patent.



               SO ORDERED this 29th day of April, 2021.



                                        CHIEF, UNITED STATES DISTRICT JUDGE




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